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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11     ROBERT L. CONRADY,                     Case No. 2:20-cv-08443-JWH (GJS)
12                 Petitioner
13            v.                               JUDGMENT
14     WARDEN,
15                 Respondent.
16
17
18         Pursuant to the Court’s Order Denying Request And Dismissing Action
19   Without Prejudice,
20
21         IT IS ADJUDGED THAT the above-captioned action is dismissed without
22   prejudice.
23
24   DATE: November 9, 2020              __________________________________
                                         JOHN W. HOLCOMB
25                                       UNITED STATES DISTRICT JUDGE
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